                                                  EXHIBITA



Answers and Documents Produced:

   a.   1. Settlement Agreement with Hugh Lee Williams wife Lois Williams. (documents attached)
        2. Duffy Williams / Steffansen lawsuit. (Documents attached)
        3. Hugh L. Williams Family Trust, Scott Williams / Steffansen lawsuit. (Documents attached)
          This was a lawsuit filed by Beneficiary Duffy Williams former attorney. The Trust attorney
        determined it to be frivolous. It was dismissed with prejudice.


   b.   All credit card statements attached.


   c.   No other debt except above credit cards in 2019. (Except monthly rent and utilities).


   d.   2019, 2020 Income Scott Williams (Documents attached).
        2019 No Taxable Income, 2020 No Income


   e.   2019 June, July Trust receipts (Documents attached).


        2019 June, July Trust transfers (Documents attached).
        Assets July of 2019 Include :
                1.   2008 Ford F-350 (document attached)
                2.   1989 Pace American Trailer     (not registered or titled, used Dealer Plate)
                3.   1982 Kiefer 2-Horse Trailer (not registered or titled, used Dealer Plate)
                4.   1980 Circle D Stock Trailer (not registered or titled, used Dealer Plate)
                5.   US Bank Checking Account #0794 (document attached)
                6.   US BankSavingsAccount#3336       (document attached)
                7.   Debt owed to Scott Williams by the Hugh L. Williams Family Trust ($37,123.00)
                8.   Compensation due to Scott Williams as Trustee of the Hugh L. Williams Family Trust.
                9.   1/6 interest in the remaining assets of the Hugh L. Williams Family Trust.


   h.   All text and email communications attached.
               Note: Beneficiaries Kent and Duffy Williams were attempting to assume parts of Hugh's
        business interests for themselves. 1 provided the information they requested. Beneficiary Karen
        Priest was using Hugh's RV as part of her business school project. Also the "Setttement
        Agreement" with Lois Williams required a list of assets and a basic accounting of those assets
        which was provided to all Beneficiaries before the initial distribution.




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